Case 4:09-cr-00043-SPF Document 80-7 Filed in USDC ND/OK on 06/15/09 Page 1 of 5

AQ 110 (Rev. 12/89) Subpoena to Testify Before Grand Jury

United States Bistrict Court

NORTHERN OKLAHOMA
DISTRICT OF

To: Oscar Stilley

SUBPOENA TO TESTIFY
BEFORE GRAND JURY

SUBPOENA FOR:
&I PERSON &X] DOCUMENT(S) OR OBJECTIS)

YOU ARE HEREBY COMMANDED to appear and testify before the Grand Jury of the United States District Court at
the place, date, and time specified below.

PLACE -

COURTROOM
PAGE BELCHER FEDERAL BUILDING Grand Jury Room, Suite 2182
333 West 4th Street, 2nd Floor ‘
Tulsa, Oklahoma 74103 DATE AND TIME

March 6, 2006 at 9:00 am

YOU ARE ALSO COMMANDED to bring with you the following decumentis) or object(s):*
SEE ATTACHED.

Please read the attached and contact Gayla Stewart or Pamela Johnson at 918/382-2700 or 1/888/735-4540 plier to the above date

to confirm the actual date and time of your appearance. IMPORTANT: You must bring a photo ID to enter the Courthouse
building.

This subpoena may be complied with by turning over the requested records to Special Agent Brian Shem, IRS/CID, 1645 South
10ist East Avenue, Suite 232, Tulsa, Oklahoma 74128, telephone (918) 581-7050, facsimile (918) 581-7055, prior to the above
date and time. Failure to respond can result in contempt of the Grand Jury and may involve criminal charges. Business
Authenticafion Certificate (attached) should, be completed and returned via U.S. Mail to avoid a required court
appearance.

O Atease see additional information on reverse

This subpoena shall remain in effect until you are granted leave to depart by the court or by an officer acting on
behalf of the court. LFR for DEO/Shern-IRS/asm/GJS #MAR06a.101

DATE

CLERK

PHIL LOMBARDI, Clerk .
(BY) DEPUTY CLERK February 2, 2006

Cider

This subpoena is issued on application

NAME. ADDRESS AND PHONE NUMBER OF ASSISTANT U.S. ATTORNEY

of the United States of America Loretta F. Radford
110 West 7th St, Ste. 300
David E. O'Meilia, U.S. Attamey Tulsa, Oklahoma 74119

(918) 382-2700

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Case 4:09-cr-00043-SPF Document 80-7 Filed in USDC ND/OK on 06/15/09 Page 2 of 5

ATTACHMENT TO SUBPOENA ISSUED TO: OSCAR STILLEY
FOR THE PERIOD: JANUARY 1, 2000 THROUGH PRESENT

DOCUMENTS UNDER OSCAR STILLEY’S CUSTODY OR SUBJECT TO HIS
CONTROL INCLUDING:

Any and ail client billing records, contracts, description of services, fee schedules, and
estimates for services referencing the name LINDSEY SPRINGER;

Any and all client billing records, contracts, description of services, fee schedules, and
estimates for services related to any work performed for any client where LINDSEY
SPRINGER helped, assisted, consulted, or provided advice;

Documentation of any money paid, given, transferred, or provided to LINDSEY
SPRINGER for any purpose;

Any and all correspondence with LINDSEY SPRINGER related to the above items;
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U.S. Department of Justice
DAVID E. O’MEILIA
United States Attorney
Northern District of Oklahoma
Loretta F. Radford
Assistant United States Attorney
110 West 7th Street, Suite 300 (918) 382-2700
Tulsa, Oklahoma 74119 Fax (918) 560-7954
February 2, 2006 Faxed and Mailed
Mr. Oscar Stilley
7103 Race Track Loop
Fort Smith, AR 72916

Fax no. (479) 996-3409

Dear Mr. Stilley:

I am in receipt of your letter dated January 31, 2006, requesting an extension of time to
produce certain documents pursuant to a Grand Jury Subpoena issued by this office. | have carefully
reviewed and considered the reasons stated in your request for an extension. I will agree to an
extension of forty-five (45) days from the date you were served with the Grand Jury Subpoena. My
records reflect you were served on January 20, 2006. Therefore, 1 will expect ali documents to be
tendered on or before March 6, 2006. The attached Grand Jury Subpoena requires you to appear,
along with a copy of all documents, at the Grand Jury hearings to begin on March 6, 2006, at 9:00
aI,

Unless you are able to provide statutory authonty requiring reimbursement for your expenses,
the Government does not intend to pay any costs or fees associated with the production of documents
or your appearance before the Grand Jury.

Sincerely,
Case 4:09-cr-00043-SPF Document 80-7 Filed in USDC ND/OK on 06/15/09 Page 4 of 5

U.S. Department of Justice

DAVID E, O’?MEILIA
United States Attorney
Northern District of Oklahoma

Loretta F. Radford
Assistant United States Attorney

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Tulsa, Oklahoma 74119 Fax (918) 560-7954
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DAVID E. O'MEILIA
United States Attorney

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m.,

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Loxetta F. Radford \
Assistant United States Attorney

LFR/kao
Case 4:09-cr-00043-SPF Document 80-7 Filed in USDC ND/OK on 06/15/09 Page 5 of 5

AO 110 (Rev. 12/89) Subpoena to Testify Before Grand Jury

RETURN OF SERVICE
DATE PLACE
RECEIVED
BY SERVER Q-2-Ob
DATE PLACE
SERVED a (, Ol “V1 eee Tre ale L-96

SERVED GON (PRINT NAME)

Et. Sunidh, brkanges 138

SERVED BY [PRINT NAME}

Onna Man amen

TRAVEL

TITLE

low! Aeidant

STATEMENT OF SERVICE FEES

SERVICES

TOTAL

DECLARATION OF SERVER)

1 declare under penalty of perjury under the laws
information contained in the Return of Servicefand Stat

of the United States of America that the foregoing
ement of Sey
Executed on Q -Q “Ob

Fees is, true and correct.
Date Signature of Server ~ ~

f
U.S. DEPARTMENT OF JUSTICE
United States Attorney

: Northern District of Oklahoma
Address of Server 1/0 West 7" Street, Suite 300
Tulsa, OMahoma 74119-1029
ADDITIONAL INFORMA be ;
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ru Oscar Stilley FEB 06
Bote or le 7103 Race Track Loop 2 2006
in Oscar Stilley Ft. Smith, Arkansas 72916 Str CORES
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Procedure.

7005 L820 OOO) O44 LL42

PS Form 3811, February 2004 Domestic Return Receipt

102595-02-M-1540

(2) "Fees and mileage need not be tendered to tha witness upon service of a subpoena Issued on bahall of the Writed States or an omicer oF agency wires

(Rule 45(c), Federal Rules of Civit Procedure; Ruta 17(d), Federal Rules of Criminal Procedure) or on bahalf of certain Indigent parties and criminal
defendants who ara unable to pay such costs (28 USC 1425, Rule 17(b) Federal Rules of Criminal Procedure)",
